                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 In re: Holt & Holt Entrepreneurship, LLC            )           Case No.: 21-80445-CRJ-7
        SSN: xxx-xx-5025                             )
                                                     )
                                                     )
               Debtor.                               )           Chapter 7


                                          STATUS REPORT

         COMES NOW the Trustee, Tazewell T. Shepard, and notifies the Court of the status of
 his liquidation of assets and distribution in the above-styled Chapter 7 case. Pursuant to a Court
 order entered to the docket on April 19, 2021 (Doc. 36) the Trustee sold Debtor’s interest in real estate
 located at 5412 Green Meadow Road, N.W., Huntsville, Alabama 35810. The proceeds of the sale
 have been received and the Realtor paid. A report of sale has been filed with the court. The
 Trustee will update the Court on the status of this case within the next 90 days.

         Respectfully submitted this the 18th day of October, 2021.


                                                     /s/ Tazewell T. Shepard
                                                     Tazewell T. Shepard
                                                     Trustee in Bankruptcy

                                                     SPARKMAN, SHEPARD & MORRIS, P.C.
                                                     P.O. Box 19045
                                                     Huntsville, Alabama 35804
                                                     Tel: (256) 512-9924
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                                   CERTIFICATE OF SERVICE

         This is to certify that I have this day served the foregoing document on Richard M.
 Blythe, Esq., Office of the Bankruptcy Administrator, P.O. Box 3045, Decatur, AL 35602 by
 electronic service through the Court’s CM/ECF system and/or by placing a copy of same in the
 United States Mail, postage prepaid this the 18th day of October, 2021.



                                                     /s/ Tazewell T. Shepard
                                                     Tazewell T. Shepard




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